                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                                                                    Motion GRANTED.
                                 NASHVILLE DIVISION

DANIEL JONES,                                       )
                                                    )
       Plaintiff,                                   )
                                                    )
Vs.                                                 )       Civil No. 3:13-cv-1041
                                                    )       Judge Trauger
OLD DOMINION FREIGHT LINE, INC.                     )       JURY DEMAND
                                                    )
       Defendant.                                   )
                                                    )

                                   MOTION TO DISMISS

       Comes the Plaintiff, pursuant to Fed. R. Civ. Pro. Rule 41(a)(2) and request that this case

be dismissed with prejudice.



                                            Respectfully submitted,



                                            /s/ Phillip L. Davidson____
                                            Phillip L. Davidson, #6466
                                            Attorney at Law
                                            2400 Crestmoor Road
                                            Suite 107
                                            Nashville, TN 37215
                                            (615) 386-7115




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